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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE

CONSUMER FINANCIAL PROTECTION
BUREAU,

                      Plaintiff,

               v.                                     C.A. No. 17-CV-01323 (MN)

THE NATIONAL COLLEGIATE MASTER
STUDENT LOAN TRUST, et al.,

                      Defendants.


       STIPULATION AND [PROPOSED] ORDER UNSEALING SEALED FILINGS

         WHEREAS the Objecting Noteholders1 filed D.I. 164 and 164.1under seal because they

contained information produced in discovery by the Responding Non-Parties2 designated as

confidential pursuant to the Stipulated Protective Order (D.I. 131) (the “Designated Information”);

and

         WHEREAS the Responding Non-Parties have consented to the Designated Information

being unsealed;




1
        The Objecting Noteholders are Waterfall Eden Master Fund, Ltd., Waterfall Delta Offshore
Master Fund, LP, Waterfall Sandstone Fund, LP., Baldr Sherwood Fund, Inc., One William Street
Capital Master Fund, Ltd., OWS ABS Master Fund II, L.P., OWS COF I Master, L.P., OWS Credit
Opportunity I, LLC, OWS Global Fixed Income Fund (USD-Hedged), Ltd., LibreMax Master
Fund, Ltd., LibreMax Value Master Fund, Ltd., LibreMax MSW Fund, Ltd., AG Mortgage Value
Partners Master Fund, L.P., AG TCDRS, L.P., AG Pisgah, L.P., AG Super RMBS LLC, and AG
Opportunistic Whole Loan Select, L.P.
2
      The Responding Non-Parties include VCG Securities, VCG Owners Trust, NC Owners,
LLC, NC Residuals Owners Trust, Pathmark Associates LLC, and CeCe & Co. Ltd. LLC.
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       NOW, THEREFORE, it is stipulated and agreed, by and among the Objecting Noteholders

and the Responding Non-Parties through their undersigned counsel, subject to the approval of the

Court, that D.I. 164, and 164.1may be unsealed.



 ROSS ARONSTAM & MORITZ LLP                       ASHBY & GEDDES, PA

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                                                  Attorneys for the Objecting Noteholders
Dated: April 26, 2019


                                    IT IS SO ORDERED this ___ day of ___________, 2019.




                                    _________________________________________
                                    The Honorable Maryellen Noreika
                                    United States District Judge




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